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                                                                UNITED STATES DISTRICT COURT
                                                                SOUTHERN DISTRICT OF FLORIDA
                                                                     Case No.: 1:18-cv-24190


  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

                                    Plaintiffs,

                   v.

  JOE CAROLLO,
  THE CITY OF MIAMI,
  MARIA LUGO, and
  JOHN DOES 1-10,

              Defendants.
  ___________________________________/

                                  AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL1

                   William “Bill” O. Fuller (“Fuller”) and Martin Pinilla, II (“Pinilla”) (collectively

  “Plaintiffs”), sue Joe Carollo (“Carollo”), the City of Miami (“City”), Maria Lugo (“Lugo”), and

  John Does 1-10, and allege as follows:

                                                                                           INTRODUCTION

                   The First Amendment to the United States Constitution guarantees every citizen the

  absolute and fundamental rights to freedom of speech, to peaceably assemble, and to petition the

  Government for redress of grievances. For ten months, Miami City Commissioner Joe Carollo


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  1
             Pursuant to the Scheduling Order Setting Trial [DE 39], the deadline for Plaintiffs to join
  additional parties or to amend pleadings is set for today, January 8, 2019. In advance of this
  deadline, Plaintiffs filed a Motion for extension of the deadline to join additional parties or to
  amend pleadings. This Court has yet to rule upon the Motion. Therefore, in an abundance of
  caution, Plaintiffs filed this Amended Complaint. However, Plaintiffs continue to seek the relief
  sought in the Motion, as they requested additional time to prepare this Amended Complaint, and
  therefore reserve all rights to file a Second Amended Complaint should this Court grant the
  Motion or to seek leave to amend file a Second Amended Complaint at a later date.
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  has obliterated these fundamental rights by using the power and influence of his government

  office to engage in a campaign of harassment, retribution and retaliation against Plaintiffs.

  Carollo’s actions, designed to destroy Plaintiffs’ businesses and reputations, is pure political

  payback—targeting Plaintiffs simply because they dared to support Carollo’s opponent in a run-

  off election, and because they filed an Ethics Complaint against Carollo.

         Unchecked retaliation and political payback on this scale would lead the United States

  down the path of Cuba and Venezuela today. Carollo’s prolonged and multifaceted retaliation

  has been in blatant violation of the City of Miami Charter’s prohibition on Commissioners

  providing direct orders to City employees to wrongfully use City resources for their own political

  means. He has wrongfully employed City resources, including the Police, the Fire Department,

  Code Enforcement, and the Special Event Department, in his attacks against Plaintiffs to (a) shut

  down the Christmas Party Plaintiffs hold for their own employees, their tenants and their tenant’s

  employees, and their families, including young children each year (a party previously attended

  by City Commissioners and employees); (b) prevent Plaintiffs’ use of the same shipping

  containers authorized by the City in the Wynwood Yard and the Wharf on the Miami River to

  house commercial business, thereby nearly destroying a family business operating a wildly

  popular restaurant in that spot (Sanguich); (c) shut down Plaintiffs’ tenant Union Beer by

  sending multiple police and code enforcement personnel to raid their anniversary party; (d)

  permanently shut down construction of the kiosk market Plaintiffs had invested in and already

  obtained City approval for; (e) disrupt and shut down the wildly popular Viernes Culturales,

  merely because Plaintiff Fuller is the Chairman of the Board of that nonprofit organization; and

  (f) trespass on Plaintiffs’ properties and conduct illegal searches and government surveillances.

  Carollo has also made false “anonymous” noise complaints against Plaintiffs’ business Ball &

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  Chain; solicited the residents of neighboring buildings to make those same false noise

  complaints; repeatedly alleged code violations by the company that operates the valet for Ball &

  Chain; and even defamed and disparaged Plaintiffs on the radio, calling Plaintiff Fuller “El

  Padrino,” and falsely stating that Fuller “operate[s] like a Godfather” backed by corrupt

  Venezuelan criminals, thereby destroying the Plaintiffs’ good name.

          Carollo has also managed to amend key provisions of the Miami City Code to target

  Plaintiffs’ businesses in violation of the U.S. Constitution’s prohibition on bills of attainder.

  Carollo’s stated intention is to drive the Plaintiffs out of business even if he has to destroy the

  life savings and work of the businesses who rent from the Plaintiffs.

         These are not mere allegations. They are confirmed by Carollo’s own aid, City of Miami

  employees, a Miami-Dade Ethics Commission investigative report, and even by another

  Commissioner of the City of Miami. There are also reams of text messages, emails, photographs

  and even live video showing Carollo in action lurking around Plaintiffs’ properties in alleyways

  and behind trees in the middle of the night on numerous occasions. In fact, Carollo has himself

  stated that he is the “new Sheriff in town,” and that he “is the law.”

         Carollo knows that such retaliation for exercising one’s right to free speech is not only

  morally wrong but also illegal as Carollo himself has previously sued the Mayor and City of

  Doral claiming that they had retaliated against him for exercising his free speech rights. See

  Carollo v. Boria, 833 F. 3d 1322 (11th Cir. 2016).

         Further, the City, with complete knowledge of Carollo’s campaign of unconstitutional

  harassment and retaliation against Plaintiffs, encouraged, condoned and even participated in that

  unconstitutional activity on numerous occasions. Since the inception of Carollo’s campaign of

  retaliation against Plaintiffs, the City has entirely failed to deter or eliminate Carollo’s

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  unconstitutional actions, and instead created a culture of permitting this type of unconstitutional

  activity.

          Plaintiffs have filed this action against Carollo, the City and Lugo (one of Carollo’s

  conspirators), who must be must be held accountable for the hundreds of thousands, if not

  millions, in damages they have caused. An award of punitive damages of at least $10 million

  dollars must also be entered against Carollo and Lugo to punish them and anyone like them from

  engaging in such despicable conduct in the future.

                                 PARTIES, JURISDICTION, AND VENUE

          1.      Plaintiff Fuller is a resident of Miami-Dade County, Florida.

          2.      Plaintiff Pinilla is a resident of Miami-Dade County, Florida.

          3.      Collectively, Plaintiffs own or control real estate investments directly or through

  various affiliated entities.

          4.      Defendant Carollo is a City of Miami Commissioner, two-time former Mayor of

  Miami, and at all times mentioned herein was a resident of Miami-Dade County, Florida.

          5.      Defendant City of Miami is a municipal entity organized under the laws of the

  State of Florida.

          6.      Defendant Lugo is Carollo’s former top campaign advisor, who willingly and

  materially assisted Carollo in his campaign of harassment, political retribution and First

  Amendment retaliation directed against the Plaintiffs.        Defendant Lugo is also a former

  employee of the City of Miami Code Enforcement division, and currently serves as an Executive

  Board Member of the American Federation of State County and Municipal Employees

  (“AFSCME”), having recently been appointed to the Bayfront Park Management Trust Board.

  At all times mentioned herein, Defendant Lugo was a resident of Miami-Dade County, Florida.

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          7.       Defendants John Doe 1-10 are employees of the City of Miami and others whose

  identities and exact roles are currently unknown, but who willingly and materially assisted

  Carollo in his campaign of harassment, political retribution and First Amendment retaliation

  directed against the Plaintiffs.

          8.       This Court has subject matter jurisdiction pursuant to 42 U.S.C. § 1983 and 28

  U.S.C. § 1331.

          9.       Venue lies in the Southern District of Florida because the cause of action accrued

  and the parties are located within this district.

          10.      All conditions precedent to the filing of this lawsuit have been performed,

  satisfied and/or waived.

                                     FACTUAL ALLEGATIONS

          11.      Plaintiffs are local entrepreneurs operating out of the Futurama building in the

  heart of the Calle Ocho District of Little Havana.

          12.      Over the course of the last 15 years, Plaintiffs worked hard to build a diverse real

  estate investment business from the ground up, one building at a time.

          13.      Today, Plaintiffs’ businesses provide hundreds of jobs for local residents and

  produce hundreds of thousands of dollars in tax revenue for the City of Miami, Miami-Dade

  County and the State of Florida.

          14.      Plaintiffs have dedicated their professional careers to revitalizing the

  neighborhood of Little Havana, where they have helped to generate economic activity and new

  life into the area while at the same time preserving its historical significance and cultural

  identity.




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                   15.              In this vein, Fuller and Pinilla are “a galvanizing force behind the area’s cultural

  resurgence.”2

                   16.              Renowned Miami historian Dr. Paul George has likewise noted that Fuller and

  Pinilla “are both very history-minded and are also very civic-minded . . . [They] understand that

  the neighborhood has a multilayered history.”

                   17.              Plaintiffs consider their work to be that of curators and caretakers of the

  neighborhood, accordingly, they seek out development partners and tenants “who share a similar

  vision of preserving and protecting the heritage, the culture, and the history. . .”3 of Little

  Havana.

                   18.              For example, in 2014, Fuller and two of his childhood friends reopened the

  famous Ball & Chain nightclub.

                   19.              For decades during the 1930’s to 1950’s, Ball & Chain was an important music

  venue, presenting titans of the era such as Billie Holiday and Count Basie.

                   20.              With the vision of restoring the venue to its past glory days, Fuller and his

  partners have made Ball & Chain once again a premier entertainment destination for people of

  all ages, races, and nationalities.

                   21.              From its opening in 2014 to January 2018, Ball & Chain has served the

  community and operated without interference from the City, receiving only one noise complaint

  and zero parking related citations from the City.

                   22.              Fuller and Pinilla are also currently working on Little Havana’s first boutique

  hotel through a redevelopment and restoration of the historic Tower Hotel.

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  2
             https://www.miaminewtimes.com/arts/viernes-culturales-little-havanas-rebirth-begins-6388896
  3
                                              https://www.nbcnews.com/news/latino/miami-s-little-havana-working-class-neighborhood-
  global-tourist-hot-n738236
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                   23.              The Tower Hotel served as a World War II hospital and famously hosted African-

  American jazz greats during the era of segregation.4

                   24.              Preserving that history, in which the legacies of various cultures converged on

  Calle Ocho, is central to Plaintiffs’ vision for the project.

                   25.              Through these and many other projects in the area, Plaintiffs have sought to

  reestablish Little Havana as a healthy, dynamic neighborhood, showcasing new cultural life

  while celebrating its important place in Miami’s history.

                   26.              Plaintiffs’ efforts in the neighborhood have born significant fruit—Little Havana

  offers visitors many new options of sights to see, places to seek entertainment and a vibrant arts

  scene to enjoy, much of which retains or reflects the cultural distinction, rich history and vibrant

  atmosphere that make Little Havana special.

                   27.              Little Havana is now a major Miami destination for tourists and locals alike,

  sought after as one of the few authentic Cuban legacy neighborhoods left in Miami.

                   28.              In 2017, the National Trust for Historic Preservation declared Little Havana a

  national treasure.

                   29.              Throughout all of this, Plaintiffs have had great relationships with City

  Commissioners, including Carollo’s two predecessors, his brother Frank Carollo and Joe

  Sanchez, both of whom appointed Fuller and Pinilla to participate in various City boards or

  trusts, such as the Stars of Calle Ocho and Viernes Culturales.5




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  4
           https://www.miamiherald.com/news/business/article204754109.html#storylink=cpy
  5	  In addition, Fuller and Pinilla are also active in the Dade Heritage Trust and Live Healthy Little

  Havana.	  
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                                                            THE RACE FOR CITY COMMISSIONER	  

                   30.              In the summer of 2017, Carollo, who had previously served as Mayor of Miami,

  announced his campaign for Commissioner for the City of Miami’s for District 3, which includes

  Little Havana.

                   31.              At that time, other prominent Miami Mayors expressed concern over Carollo’s

  history of “abusing power, profiting from taxpayers and using government resources to

  intimidate his political opponents.”6

                   32.              During the campaign, Fuller met privately with Carollo when Carollo was seeking

  Fuller’s political support. They discussed ways they could work together to improve Little

  Havana.

                   33.              Steve Miro (“Miro”), a top campaign staffer for Carollo, noted that, at that time,

  Carollo was not “targeting . . . [Fuller], Joe was trying to ally himself with him.”7

                   34.              Carollo’s main opponents in the election race were Alfie Leon, Tomas Regalado

  and Zoraida Barreiro. Plaintiffs made financial contributions to Leon, Regalado and Carollo.

                   35.              In the general election, held on November 7, 2017, Carollo received 1,818 votes,

  and Alfonso Leon received 1,221 votes.

                   36.              On election night, Carollo was seated with Defendant Lugo, one of his top

  campaign advisors.8



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  6 https://www.miamiherald.com/news/local/community/miami-dade/article179627391.html
  7
             See Ethics Report, attached herein as Exhibit A, p. 25. As noted herein, on or about March 12,
  2018, Fuller filed an Ethics Complaint against Carollo with the Miami-Dade Commission on
  Ethics and Public Trust (the “Ethics Complaint”). Following the conclusion of the Ethics
  Commission’s investigation, the Commission released its Investigative Report (the “Ethics
  Report”) which includes the testimony of over 14 individuals regarding many of the allegations
  contained herein. Plaintiffs will refer to said testimony throughout this Complaint.
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                                                        37.                                                   Because neither candidate received a majority of votes, a run-off election was

  scheduled for November 21, 2017.


                                                                                                  CAROLLO SHUTS DOWN ALFIE LEON RALLIES ON PLAINTIFFS’
                                                                                                                   PROPERTIES

                                                        38.                                                   Early voting for the run-off election commenced on November 17, 2017.

                                                        39.                                                   Two locations were designated to cast early voting ballots for the run-off, one of

  which was directly across from one of Plaintiffs’ properties.

                                                        40.                                                   In fact, the property owned by Plaintiffs, less than 75 feet away from the entrance

  to that early voting center.

                                                        41.                                                   On November 18, 2017, a rally in support of electing Carollo’s opponent, Alfie

  Leon, was held on Plaintiffs’ property.

                                                        42.                                                   The rally on Plaintiffs’ lot clearly visible to all voters casting ballots at that voting

  location. Pictures of the rally can be seen below.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  8
             At the time, Lugo was employed by the City of Miami Code Enforcement division and served
  as Secretary of the American Federation of State County and Municipal Employees
  (“AFSCME”), the City of Miami employees union.	  	  
  AXS Law Group PLLC	                                                                                                                                                                                                                                                                                                                                              	                                                                                                                                                                                                                                                                                 9	  |	  P a g e 	  
  	  
  	  
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                       43.                   There was free food, music and signs supporting Leon, which attracted the

  attention of most passersby, including voters.

                       44.                   Conversely, Carollo did not put on any such comparable event within view of the

  early voting center.

                       45.                   Rather than compete fairly, Carollo and others acting at his direction9 worked

  their contacts at the City and engineered a shut down of the rally by Code Enforcement Officers

  and the police, who forced all attendees to leave.

                       46.                   Undeterred, Leon supporters gathered for another rally at the same location the

  next day, Sunday, November 19, 2017, the last day of early voting.

                       47.                   Like the first rally, this one also had music and food and was highly visible to the

  public, including potential voters.

                       48.                   And like the first, there was no comparable event for Carollo anywhere nearby.

                       49.                   Miro spotted Pinilla at the rallies, passing along the information to Carollo.

                       50.                   The rallies were a threat to Carollo’s chance of winning the run-off election and,

  consequently, Carollo sought to shut down the second rally.

                       51.                   Miro confronted Fuller by phone and demanded that he shut down the rally,

  implying that Plaintiffs were responsible for the rallies based on having spotted Pinilla there.

                       52.                   Instead of relying on Fuller to comply with Miro’s demand, Carollo and Miro

  exploited any City contact they could to shut the rally down.

                       53.                   Indeed, based on Carollo’s efforts, both rallies were shut down by Code

  Enforcement or other City agents, and the property received a bogus permitting citation.



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           This included Lugo and Miro, who was Carollo’s Chief of Staff at the time.
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         54.     Miro later confirmed that the Carollo was responsible for the shutdown of the

  rallies, stating that Carollo had instructed Lugo to leverage her City contacts to have the rally

  shut down.

         55.     Miro later confirmed that the Carollo camp was responsible for the shutdown of

  the rallies. Miro stated that Carollo actually instructed Lugo on site at the Alfie rally, and that

  Lugo was leveraging her contacts in the City on behalf of Carollo to get the rally shut down.

         56.     The run-off election was held on November 21, 2017 and Carollo defeated Leon

  by a mere 352 votes.

         57.     If Carollo had not succeeded in shutting down the Leon rallies, he may indeed

  have lost the run-off election to Leon.

         58.     Instead, on December 2, 2017, Carollo was sworn in and pledged his allegiance to

  the City of Miami and its Charter.


                   RELEVANT CITY OF MIAMI CHARTER PROVISIONS

         59.     Among other things, the City of Miami Charter governs the powers vested in the

  various arms of City government including the Mayor, City Manager and the Commissioners.

         60.     Section 4(g)(6) gives the Mayor the power to appoint the City Manager and

  Section 15 of the Charter establishes that the City Manager shall be the head of the

  administrative branch of the City government.

         61.     Section 4(d) of the Charter delineates the division of power between the Mayor,

  City Manager and Commissioners as follows:

          Except for the purpose of inquiry and as may be necessary as provided in section
          14, the mayor, the city commission, any committees and members thereof shall
          deal with the administrative service solely through the city manager, and
          neither the mayor nor the city commission, nor any committees nor

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                     members thereof shall give orders to any of the subordinates of the city
                     manager, city attorney, city clerk and independent auditor general, either
                     publicly or privately.

                     Any such dictation, prevention, orders or other interference or violation of this
                     section on the part of the mayor or a member of the city commission or
                     committees shall be deemed to be violation of the Charter, and upon
                     conviction before a court of competent jurisdiction any individual so
                     convicted shall be subject to a fine not exceeding five hundred dollars
                     ($500.00) or imprisonment for a term of not exceeding sixty days or both,
                     and in the discretion of the court shall forfeit his or her office. Any willful
                     violation of the provisions to this section by the mayor or any city commissioner
                     shall be grounds for his or her removal from office by an action brought in
                     the Circuit Court by the state attorney of this county.

                   62.              The Charter makes clear that neither the Mayor nor any Commissioner can give

  direct orders to any department that is subordinate to the City Manager. Instead, they are

  required to direct all orders to the City Manager who then has the authority to direct the various

  departments of the City to take action.


       CAROLLO’S RETALIATION AGAINST AND TARGETING OF PLAINTIFFS AND
                             THEIR PROPERTIES

                   63.              Upon taking office, Carollo immediately drew up a list of Plaintiffs’ properties

  and associated businesses in District 3.

                   64.              Miro stated it explicitly: “when Carollo took office . . . he went after Mr.

  Fuller, obviously. You know-he does have a spreadsheet…of all the businesses he [Fuller] has

  in the district.”10

                   65.              Likewise, Orlando Diez (“Diez”), who was then the Director of Code

  Compliance, Construction Manager, Office of Capital Improvements for the City of Miami,

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   On or about August 3, 2018, Plaintiffs took the voluntary sworn testimony of Miro as part of
  the ethics investigation (the “Miro Statement”). A copy of the Miro Statement is attached hereto
  as Exhibit B. Plaintiffs will also refer to the testimony herein. Exhibit B, p. 7, ll. 5-13.
  (emphasis added)
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  testified that Carollo told him: “There’s a guy there who owns a lot of businesses, buildings, his

  name is Bill Fuller.”

                             66.                         Diez further testified that Carollo said he had a list of addresses for Fuller’s

  properties that he would give to Diez, from which Diez understood Carollo was asking him to

  selectively target Fuller’s properties.

                             67.                         Miro testified that Carollo also used the spreadsheet to point out alleged legal

  violations on Plaintiffs’ properties during a walk with the Mayor, the City Manager, the Deputy

  City Manager and Code Enforcement Director.

                             68.                         As Miro explained: “[w]e walked up and down 8th Street all the way to 6th

  Avenue [and back]; . . . . showing the business that have violations and obviously, they were

  [Fuller’s] businesses.”11 By doing so, Carollo put the City on notice of his intentions to

  selectively target and harass Plaintiffs as retaliation.

                             69.                         Miro further noted that Carollo was targeting Plaintiffs as political retribution

  because Fuller went against Carollo in the run-off election by supporting Alfie Leon and

  allowing Leon to use Plaintiffs’ property for the rallies.

                             70.                         Specifically, when asked why Carollo was targeting the Plaintiff, Miro answered:

  “obviously, [Fuller] went against him in the commissioners by donations to -- giving him

  building and what have you.”12                                                                                                          That means that Fuller went against Carollo in the run-off

  election by supporting his opponent, Alfie Leon, and allowed Leon to use Fuller’s property to

  conduct a rally across from the early voting center.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  11
                   Id. pp. 7 & 8.
  12
                   Id. at p. 10, ll. 12-25 and p. 11, ll. 1-13. (emphasis added)	  
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      CAROLLO’S RETALIATION AND INTIMIDATION – PLAINTIFFS’ ANNUAL
                   OFFICE & FAMILY CHRISTMAS PARTY

         71.       On December 15, 2017, a few weeks after the run-off election, Plaintiffs held

  their annual office holiday party at the historic Tower Hotel.

         72.       The event was hosted by Plaintiffs for the benefit of employees, tenants, and their

  families, including young children and other guests for five straight years with no issue from the

  City. In past years, even City Commissioners attended the Christmas Parties.

         73.       Carollo learned of Plaintiffs’ Christmas Party, and, after “driving by” to confirm it

  was taking place, conspired with Lugo to mobilize the assets of Code Enforcement officials to

  disrupt the Christmas Party and shut it down.

         74.       Lugo then repeatedly called and texted Diez, the Director of Code Enforcement,

  insisting that he shut the event down and stating in support that Christmas Party lacked a Special

  Events Permit.

         75.       In response, Diez explained to Lugo that such a permit was required only if more

  than 100 people were at the party.

         76.       Lugo, assured Diez that this was the case (which she knew to be false) and

  insisted Diez call the police to shut the Christmas Party down.

         77.       Diez did not send the police, but he did agree to send a Code Officer, Scarlett

  Morua (“Morua”) to investigate.

         78.       Morua arrived at the property soon afterwards, entering the Christmas Party in

  full uniform and causing guests great unease and concern.

         79.       Morua reported to Diez that there were no more than 50 people at the Christmas

  Party, including children.



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         80.     Diez told Lugo there were fewer than 100 people and that he would not call the

  police, to which Lugo responded: “You’re wrong . . . You don’t know how to read the Code.”

         81.     Diez then instructed that Morua go back to make sure there were no other guests

  somewhere in the hotel and she responded back assuring him that was not the case.

         82.     Jessica Capo (“Capo”), then Chief of Code Enforcement, and a close friend of

  Lugo, also contacted Morua and instructed her to go to the Christmas Party.

         83.     Morua advised Capo that she already had been to the event, verified that it was an

  ordinary holiday party and that no violations were evident. Undeterred, Capo told Morua to

  return to the hotel and wait outside until the event ended.

         84.     Morua returned to the party and spent an extended period of time in plain sight of

  party guests, intimidating attendees, which included the extended family and young children of

  Fuller and Pinilla.

         85.     Prior to this incident, Morua had never been directed to respond to a party and to

  stay until the party was concluded.

         86.     For the Christmas Party, however, she was told to wait and to call back to advise

  when the Party was over. Morua indicated “it was kind of weird.”

         87.     Diez also received a call regarding the Christmas Party from Assistant City

  Manager Alberto Parjus (“Parjus”), who directed Diez to go to the event in person because the

  complaints were “coming from a Commissioner’s office” whose people were “driving [him]

  crazy.” Yet again, through these actions, the City had full notice of Carollo’s intent to retaliate

  and harass Plaintiffs.

         88.     Diez then went to the Christmas Party himself with additional code enforcement

  officers. By then, there were only 10-15 people left at the party.

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          89.     At approximately 1:00 am in the hours following the party, Fuller received a call

  from the property manager on the premises to inform him that Diez had come to the property

  looking to speak with him.

          90.     Fuller immediately called Diez who told Fuller this was a political target, that

  there were many people involved in the effort, and that Fuller should meet him in person so that

  Diez could explain how Carollo and his allies were trying to use Code Enforcement resources for

  political retribution.

          91.     Diez also asked Fuller to please explain that Diez had sent Code Enforcement to

  the property.

          92.     Fuller understood this mean that Diez wanted it known that he had obeyed the

  orders from Carollo’s camp so he would not suffer any adverse consequences. During the call,

  Diez was very animated and anxious and seemed extremely nervous and intimidated by possible

  retribution from Carollo and Lugo.

          93.     When Fuller met Diez in person, Diez confirmed Plaintiffs’ suspicion that Carollo

  and Lugo were behind the Code Enforcement interference at the party.

          94.     Diez also stated that Lugo instructed him not to reveal the source of the

  complaints.

          95.     Diez later explained that, based on his understanding of the City Charter and

  Administrative Policy Manual, elected officials are not allowed to give direction to staff and can

  only raise concerns through the City Manager’s Office. He indicated in the case of Carollo,




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  many of the code-related complaints originated from Carollo’s office through Lugo and Miro

  as well as communication through his direct boss, Parjus.13

                                                        96.                                                    This was echoed by Parjus who he stated “the right way to communicate a

  complaint is through the Manager, then it is communicated to him and in turn he contacts Code

  Enforcement regarding the allegation. The wrong way is a Commissioner calling the Director of

  Code Enforcement.”14


                                                                                                              RETALIATION AGAINST BARLINGTON GROUP AND ITS
                                                                                                                       TENANT “SANGUICH DE MIAMI”

                                                        97.                                                    Plaintiffs, along with Barlington Group, LLC (“Barlington Group”), a limited

  liability company of which they are managing members, also supported the development of

  Sanguich de Miami (“Sanguich”) an innovative restaurant aiming to bring a remodeled shipping

  container, an architectural concept recognized around the world, to create further retail activation

  on a part of the street that was a non-descript parking lot.

                                                        98.                                                    The success of shipping containers for retail activation was not only a worldwide

  phenomenon, it had also been established in hugely popular sections of Miami, such as for

  example, in the Wynwood Yard and also at The Wharf on the Miami River. These were

  established pursuant to Temporary Use Permits (“TUPs”) under the City Code.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   Exhibit A, p. 29.
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                   Id. p. 19.
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         99.     Here is a photo of the Sanguich structure on the property owned by Fuller and

  Pinilla in December of 2017:




         100.    Former District 3 Commissioner Frank Carollo (Joe Carollo’s brother), was a

  “huge proponent” of the Sanguich business and its location in the refurbished shipping container.

  Frank Carollo even suggested they partner with Plaintiff Fuller.

         101.    Many City officials including former Mayor Tomas Regalado and the Chief of

  Police attended Sanguich’s ribbon-cutting ceremony on Oct. 27, 2017.

         102.    Sanguich obtained a business license from the City, known as a “BTR” and a state

  license for preparing and selling food and worked with a City of Miami Assistant Attorney to get

  temporary zoning approvals from the City.

         103.    Sanguich became a huge success, was overwhelmed with customers, received

  rave reviews, and would often times sell out of its products.

         104.    On November 26, 2017, just one week after Carollo discovered Plaintiffs

  supporting his competitor Leon, and only 5 days after he won the run-off election against Leon,
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  Sanguich was “raided” by 25-30 City enforcement personnel including police, fire, building and

  Code Enforcement officers.

                   105.             Just minutes before the raid, Fuller was contacted by City Manager Daniel

  Alfonso (“Alfonso”), who advised him that Code Enforcement had been summoned to the

  property. When Fuller asked if this was retaliation from the incoming commissioner Carollo, the

  City Manager responded simply by saying “si.” Again, the City had full knowledge of Carollo’s

  campaign to retaliate against Plaintiffs for their support of Mr. Leon.

                   106.             After the Sanguich owners, Rosa Romero (“Romero”) and Daniel Figueredo

  (“Figueredo”), also contacted Alfonso, he confirmed to them that the raid was performed at

  the direction of Carollo and that Alfonso had no power to stop it. Alfonso advised them to

  meet with Carollo to learn the reason for the raid.

                   107.             Romero and Figueredo met with Carollo on December 6, 2017.                                                                                                                  Carollo

  expressed that he felt the location of their business (on Plaintiffs’ property) was problematic and

  that they relocate to City-owned property. Specifically, Carollo stated, “I love it [the business],”

  just “maybe not where you are, I think there’s a little park that’s near there and maybe the City

  can accommodate you.”15

                   108.             Solely to ensure that Plaintiffs could not use the same concept approved and

  succeeding in Wynwood and the Miami River, within two miles of their location, Carollo


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   Romero and Figueredo were eventually told that they were raided because they lacked a
  Certificate of Use (CU), but since they were operating a mobile vending unit and not a
  permanent structure that made no sense. After discussing this with the Assistant City Attorney,
  they were advised that they could operate, at least temporarily, with a Temporary Events Permit
  (TEP), while they sought to gain zoning approvals. The Assistant City Attorney further
  informed them that the City’s zoning code is vague and that a great deal of subjectivity is
  involved. They were advised that as a result of this, the District Commissioner, in this case
  Carollo, would likely have final say as to whether a building met code regulations.
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  managed at the Commission Meeting on December 14, 2017 to remove TUP’s solely from

  District 3.16 Carollo did so without meeting the proper City procedure. There was no first

  hearing on the issue, and there was no public notice on the issue. He circumvented the proper

  procedure by inserting it into another commissioner’s legislation, on its second reading,

  depriving Plaintiffs of their due process rights and destroying the opportunity they had built, and

  were building, with other projects in their pipeline.

                   109.              Thus, the same shipping containers that are authorized and in use in The Wharf on

  the Miami River and at Wynwood Yard in Wynwood could no longer be used in Little Havana.

                   110.              Sanguich reopened on January 6, 2018 with a Temporary Events Permit (TEP).17

  That same day, however, City of Miami Code Enforcement showed up and advised them they

  were not allowed to open. Code Officer Yacmany Salvatierra (“Salvatierra”) told them, “I’m

  sorry, this came from above, just know people are watching.”

                   111.              Sanguich nevertheless opened and, two days later, on January 8th at approximately

  11:00 AM, Salvatierra returned with police and stated, “You’re not supposed to be open because

  the TEP had a condition that had not been met,” and threatened to arrest them if they did not

  close the business. When Figueredo inquired with Building Department Director Jose Camero

  (“Camero”) as to why they were forced to close despite having a BTR and TEP, Camero stated

  “I got a phone call, but I can’t say from who . . ..”

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   See Ordinance 13733 enacted on January 11, 2018.
  17
                   Figueredo had been informed that because they were a mobile vendor, having installed
  axels on the container as requested by the City, no Certificate of Occupancy was required.
  Indeed, many other businesses in the City such as The Wharf on North River Drive were
  operating under TEPs that allowed them to operate for up to two years if they are opened
  on vacant lands. However, Carollo had made it clear that he did not want TUPs to be
  utilized in Little Havana and as a result of that, he directed both the Building and
  Zoning Departments to make an example out of Sanguich because of its location on
  Plaintiffs’ property.
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                                               112.                                         In his testimony to the Ethics Commission, Parjus confirmed that the calls to the

  Building Department and the City were coming from Carollo personally or from a person

  acting at Carollo’s direction, stating “every time the guy [Figueredo] would open the door

  to clean up the place or do something we’d get a call . . . ‘hey they’re open up again,’ from

  the Commissioner’s Office or somebody else.”18 When receiving these repeated calls from

  Carollo personally or from a person acting at his direction, the City understood and continued to

  support Carollo’s unconstitutional campaign of harassment against Plaintiffs and their affiliated

  business continued.

                                               113.                                         Asked the reason for the harassment, Carollo told Figueredo, “my problem

  is not as much with you as it is with your landlord.”

                                               114.                                         The Sanguich proprietors, Romero and Figueredo are a husband and wife team

  who had invested their family’s entire savings in the concept. The machinations of Carollo and

  the City drove them to the verge of bankruptcy and Carollo ultimately succeeded in shutting

  down Sanguich on property owned and rented by Plaintiffs.

                                               115.                                         Sanguich has since relocated to a nearby typical retail building:




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                Exhibit A, p. 19. (emphasis added)	  
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         116.    Since relocating off of Plaintiffs’ property, Sanguich has ceased receiving

  any City code violations or any retaliation by Carollo.

         117.    Plaintiffs’ however, have suffered monetary and other damages from Carollo

  as a result of his forcing Sanguich to relocate off of Plaintiffs’ property.


       RETALIATION AGAINST PLAINTIFFS AND THEIR TENANT UNION BEER

         118.    Fuller and Pinilla are also the landlords and partners of the Union Beer Store, an

  oasis for beer lovers in Miami’s Little Havana neighborhood with 18 taps, pouring the best beers,

  local and otherwise, including beers on nitro, cask ales from a beer engine and a growler station.

         119.    David Rodriguez and Cecilia Rodriguez are also a husband and wife team who

  have invested their life savings into creating Union Beer, which is located at 1547 SW 8th Street,

  a building owned by Plaintiffs. Union Beer has been a tenant of Plaintiffs since February 2017.

         120.    On February 10, 2018, Union Beer held its one-year anniversary party in the

  parking lot behind their business. Carollo suddenly appeared at the property with several police

  officers with flashing lights and approximately 15-20 Code Enforcement officers.              Carollo


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  confronted the Rodriguezes and told them “You need a temporary events permit . . . but even if

  you had applied for one, I would have denied it.” The City Commissioner does not approve

  special events permits.   They are approved by City administration, not by commissioners.

  Therefore, his statements were both false and threatening by nature.

         121.    Carollo ordered Code Enforcement to shut the party down and posted a Code

  Enforcement officer at the door of the business for the next two hours.    In doing so, Carollo,

  supported by the City, coordinated a well-organized attack by an overwhelming number of

  police, Code Enforcement and other City employees, and Carollo himself attended to videotape

  the chaos.

         122.    Prior to this event, Union Beer had never been cited for any significant code

  violations nor had any of its operations shut down.

         123.    Carollo was heard bragging to patrons of the El Pub bar that he would do

  everything possible to shut down Union Beer.


                CAROLLO’S RETALIATION AGAINST BALL & CHAIN’S VALET
                                OPERATIONS

         124.    On February 18, 2018 at approximately 12:30 A.M., Carollo, Lugo, Miro and

  Miro’s wife entered a parking lot located at 1411 SW 11 St., Miami FL 33135.

         125.    The lot is attached to St. Peter & Paul Orthodox Christian Church but at night is

  leased by S.H. Valet, the valet operator for Ball & Chain. S.H. Valet had leased and used the

  Church’s lot for parking cars for many years without any complaints from the City.

         126.    Lugo and Miro’s wife began photographing the parked cars.

         127.    Initially when approached by the valet employee, Lugo claimed it was a “private”

  matter and she had a meeting with the priest (at 12:30 AM).

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                   128.             The valet attendant then noticed another woman taking photos (Miro’s wife) and

  asked what she was doing and asked her to stop taking pictures.

                   129.             Carollo then lowered his car window, flashed his City of Miami identification

  telling the valet attendant that he was performing an “official investigation” of the valet

  operation and lot and that he was doing so in his official capacity as a City of Miami

  Commissioner.

                   130.             A few minutes after the discussion, the operator of S.H. Valet, Alain Garcia

  (“Garcia”), arrived at the lot and confronted Carollo. Garcia explained that the valet operation at

  the lot had been approved by the Miami Parking Authority and that S.H. Valet had a valid lease

  with the Church to utilize the lot at night.

                   131.             Garcia then once again questioned what Carollo was doing there and in response

  Carollo told Garcia, “I am the law.” Miro corroborated this fact during his testimony to the

  Ethics Commission.19

                   132.             Carollo further went on to tell Garcia that while he may be a hard worker just

  doing his job, he was “working for a millionaire” (meaning Fuller) which was not acceptable to

  the Commissioner.

                   133.             During his testimony to the Ethics Commission, Carollo denied ever having

  flashed his badge or telling Garcia that he worked for a millionaire. Yet in an article published in

  the Miami New Times on September 17, 2018,20 which included video footage of the incident in




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  19
                   Exhibit A, p. 26
  20
                   https://www.miaminewtimes.com/video/video-suggests-commission-joe-carollo-lied-to-ethics-
  commission-ppu1d8bv
  AXS Law Group PLLC	                                                                                            	                                                                                  24	  |	  P a g e 	  
  	  
  	  
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  question taken by Miro’s wife,21 Carollo can clearly be heard saying in Spanish “pero trabajando

  con un millionario,” which in English means, “but you are working for a millionaire”

  establishing that he lied to the Ethics Commission.

                   134.             After Garcia once again asked him to leave the private property, Carollo told

  Garcia he would receive the official results of his “investigation” in the next few days. He then

  exited the lot with his associates.


                         CAROLLO’S RETALIATORY ACTIONS AT THE GAY 8 FESTIVAL

                     135. The Gay 8 Festival took place on Calle Ocho on Sunday, February 18, 2018,

  hours after Carollo had raided Fuller and Ball & Chain’s valet operation.

                     136. Carollo’s target at the Gay 8 Festival was Sanguich, which was still at that time a

  tenant of Plaintiffs, and had obtained permission to operate as a tent vendor during the festival.

                     137. Carollo sent Miro to the festival on his behalf to be the onsight administrator

  of an orchestration of a barrage of attacks by the Fire Department, the Police Department,

  the Special Events Department and Code Enforcement, and Miro was telling all of the City

  employees that Carollo was available to talk by phone.

                     138. Carollo asked Miro to speak to Carlos Diaz (“Diaz”), a fire inspector for the City

  of Miami, to inform him that Carollo was concerned about one vendor whom he alleged was

  selling contaminated food.

                     139. When Diaz arrived, Carollo spoke to him on the phone. According to Diaz,

  Carollo identified himself as the Commissioner and made false accusations about spoiled food at

  “Sanguich” stating he had reason to believe the food had been brought in a day or two ago, had

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   The Ethics Report establishes the fact that Miro’s wife was the one filming the incident in
  question that evening. See Exhibit A, p. 6.
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  been stored in a hot trailer and might be contaminated. He also stated that the vendor lacked

  proper licenses.

          140. Diaz informed Carollo that as fire inspectors, they do not inspect food or

  licenses, but that he would pass along the information. Carollo told Diaz that the City had

  “issues” in the past with the vendor in question and that he wanted the inspectors “to follow up”

  with the vendor.

          141. Diaz went to the site and conducted the inspection of the kitchen area of

  Sanguich and determined that “everything was brand new” and “everything had been inspected”

  and there was no spoiled food: “Nothing smelled bad, nothing was rotten.”

          142. The inspection was conducted in both the container and the tent.                    Upon

  concluding the inspections, Diaz notified Miro, the police officers, the “Sanguich” owners and

  the Gay 8 coordinator that they passed the surprise inspection. Romero and Figueredo were

  permitted to continue to operate despite suffering significant embarrassment and despite Carollo

  costing the City hundreds of dollars in blatant misuse of City resources and employees.

          143. In Diaz’s 27-year career as a City Fire Inspector “neither he nor any of the

  inspectors had ever received such a call from a Commissioner.”

          144. Miro confirmed Carollo’s direct involvement with the targeted attack on Sanguich

  and further explained that although Carollo was not physically present, Carollo was in constant

  contact with City Attorney Victoria Mendez and Parjus about the situation. Through Carollo’s

  constant contact with the City Attorney and Mr. Parjus during this act of retaliation, the City

  again had further knowledge of Carollo’s retaliation against Plaintiffs, and failed to take any

  steps to deter this repeated unconstitutional activity.




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                                                               145. Because Carollo had sent Miro to work at the festival on a Saturday, a normal day

  off for most City employees, Carollo arranged for the City to compensate Miro for Miro’s

  actions on Carollo’s behalf at the Gay 8 Festival in the form of compensated vacation days.

                                                               146. Carollo did not target any other vendor at the Gay 8 Festival.


                CAROLLO ORDERS CODE ENFORCEMENT TO TARGET OTHER PROPERTIES
                                       OF PLAINTIFFS

                                                               a.                                              The March 3, 2018 Carollo Ride Along

                                                               147. On Saturday, March 3, 2018, Carollo violated the City Charter so egregiously that

  it was unprecedented.

                                                               148. Carollo called a Code Enforcement supervisor named Michelle Watt and asked

  her to instruct a Code Enforcement officer to meet him in Little Havana because he had some

  questions and needed assistance. Watt instructed Code Enforcement Officer Dennis Uriarte

  (“Uriarte”) to meet Carollo at 1600 SW 8th Street. Uriarte had been assigned to Coconut Grove,

  not Little Havana. Uriarte found the request “very unusual” because Commissioners should

  “know better” than to call Code Enforcement directly,22 and he had never before received such a

  call, saying: “in my 2 ½ years, that was the first time, it’s been the only time.”23

                                                               149. When Uriarte arrived, Carollo said he believed the construction at the property

  lacked permits. Uriarte verified online with the City’s iBuild website and determined the sight

  was “legit” and had permits. Uriarte obtained a copy of the construction site’s plans and found

  they were proceeding legally.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  22
                   Exhibit A, p. 34
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                   Id. pp. 34-35.
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                                                               150. Uriarte thought that would be the extent of his interaction with Carollo, but

  Carollo then asked if he could ride with him in the City Code Compliance vehicle, in order to

  point out five additional sites, located elsewhere on SW 8th Street, three of which belonged to

  Fuller and Pinilla, on which he wanted to search for code violations.

                                                               151. Uriarte stated “I don’t think it is part of our job . . . it never happens . . . this was a

  very unusual task given to me.” He continued by stating, “probably the supervisor didn’t even

  know that he wanted to ride with me.” Uriarte added that “I had to say yes” and did not want to

  get in “trouble for saying no to a Commissioner.”24

                                                               152. In fact, because Uriarte and his supervisor Sierra were uncomfortable with the

  request for the ride-along, they called their former supervisor Diez who suggested that they put

  something in writing documenting the request.25

                                                               153.                                                 After the ride-along Carollo called Uriarte to follow-up to see if Uriarte had

  issued citations to the Plaintiffs for the alleged code violations Carollo had claimed existed.

  Uriarte directed him to Sierra for any code violations on the properties in question.

                                                               154. Sierra consequently sent James Bernat (“Bernat”), the new Acting Code

  Enforcement Director, an email on March 8, 2018 explaining that he “received a phone call . . .

  yesterday in the evening from Commissioner Carollo requesting updates on the complaints he

  [Carollo] gave inspector Dennis Uriarte last Saturday during their ride along.” Sierra also

  provided updates for each complaint. A copy of the Sierra March 8 Email is attached hereto as

  Exhibit C.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  24
              Id.
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                   Exhibit A, p. 31.
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                     155. At the time of the ride-along, Bernat was on his first week at the job as the new

  Acting Code Enforcement Director. Bernat stated that the ride-along was done “without his

  knowledge or authorization,”26 and that Commissioners should not be going in cars or doing

  ride-alongs with inspectors, especially without the approval of their supervisor. Bernat has since

  directed his officers that they cannot participate in ride-alongs with Commissioners.

                     156. On the ride along, three of the five properties Carollo pointed out to Uriarte were

  owned by Plaintiffs. The fourth was owned by a close friend of Plaintiffs named Marcus Lapuic.

  When he inquired why he had been targeted, Lapuic learned from a source close to Carollo, that

  “because you’re a friend of Fuller, you’re a friend of the enemy, and therefor you’re a frenemy”

  and was on the list of properties to consider targeting.

                     157. None of this occurred through the proper legal channels of the City Manager as

  required by the City Charter.

                     b.             The March 14, 2018 Park and Walk – Fabricated Noise Complaints

                     158. Eleven days later, on March 14, 2018, Carollo arranged for a “park and walk”

  with numerous City employees, including Bernat, a police officer, two Code Enforcement

  personnel, Sean Moy, President of the AFSCME Union, Lugo, who was also then an Executive

  Board Member of the AFSCME Union, and Steve Miro.27


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   Id. p 22.	  
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                   One might ask why the AFSMCE Union officials would be assisting Carollo, how they
  benefitted, what they owe Carollo, and why all that is relevant to this case. As Commissioner of
  District 3, Carollo is also the Chairman of the Bayfront Park Management Trust, a prestigious
  board that is responsible for the oversight of Bayfront Park. In exchange for assisting in his dirty
  work, Carollo rewarded Lugo, an Executive Board Member of AFSMCE, with an appointment to
  the Bayfront Park Management Trust Board. Not coincidentally, upon information and belief,
  Carollo then colluded with Lugo to have her support his initiative to gift $3 million dollars in
  “surplus” funds from the Bayfront Trust to the City of Miami to help the city “balance the
  budget” and ensure that its union workers, including those in the AFSMCE, would not suffer a
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                                                               159. This again was done by Carollo as a City Commissioner with City employees

  outside the knowledge and purview of the City Manager in direct violation of the City Charter.

                                                               160. Prior to the walk, Carollo and Lugo had visited residents in a building located to

  the rear of Ball & Chain on 7th Street, close to 15th Avenue. Carollo and Lugo had visited

  several times and provided the residents with Carollo’s cell phone number, instructing them to

  call him directly in the event they had complaints of any kind. Carollo explained to the tenants

  that he would then call Code Enforcement himself to address any issue (which, of course, was in

  violation of the Charter).

                                                               161. Lugo then brought Bernat to meet one of the residents who lived behind Ball &

  Chain, whom Carollo and Lugo had already prepped. Not surprisingly, the woman complained

  of loud music after 9:00 pm at the club.

                                                               162. Bernat further stated that he had received calls directly from Carollo’s office

  about Ball & Chain and other businesses throughout 8th Street. Bernat indicated that Carollo did

  make allegations of corrupt dealings between the MPA and Ball & Chain and stated that the valet

  in front of Ball & Chain was illegal and should not be allowed to operate, but he did not provide

  any tangible evidence.

                                                               163. Prior to Carollo and his team’s visits, there had been very few noise complaints

  about Ball & Chain but after Carollo’s team had reached out to the neighbors, the complaints

  became an onslaught (orchestrated by Carollo).


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  pay cut. Shortly thereafter, Plaintiffs have learned that, upon information and belief, Carollo
  convinced the City to replace the current Chief of Code Enforcement, with AFSMCE President
  Sean Moy. Meaning that Carollo will now have a “friend” running Code Enforcement that will
  owe him a favor for ensuring his union members did not suffer a salary cut. This favor will
  surely come in the form of a storm of “legitimate” Code Enforcement actions against Plaintiffs.
  	  

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                                                               164. To assure that it could defend any false reports of noise violations, Fuller and his

  partners in Ball & Chain spent significant resources to implement high tech noise cancellation

  equipment and a master switch to control the volume of the music automatically depending on

  the time of the night. This master switch could not be changed by staff.


                                                                                                                             FULLER’S ETHICS COMPLAINT AGAINST CAROLLO

                                                        165.                                                   On or about March 12, 2018, Fuller c/o The Barlington Group filed the Ethics

  Complaint complaint against Carollo with the Miami-Dade Commission on Ethics and Public

  Trust.

                                                        166.                                                   After the Ethics Complaint was filed, Carollo attempted to tamper with the

  witnesses and get them to perjure themselves.

                                                        167.                                                   In particular, Carollo asked Miro (now his acting senior advisor) how he planned

  to respond to questions from investigators. Miro responded that he would answer all questions

  truthfully. Carollo was upset by this response, and instructed Miro to tell the investigators that

  all actions taken against properties owned by or related to the business interests of Bill

  Fuller/Barlington Group were the result of “anonymous complaints.”28 Miro stated that Carollo

  tried to “coerce me into saying something that is totally not true” and he (Miro) would not put

  himself in that predicament, to lie about anonymous complaints. “Joe wanted me to say there

  were anonymous complaints and there were none. I never received any anonymous complaints,”

  said Miro, noting that in his City position, he would have to be aware of citizens’ complaints.29

                                                        168.                                                   From that point forward, Miro’s relationship with Carollo soured, ultimately

  leading to his termination by Carollo on June 4, 2018.

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                   Exhibit A, p. 27.
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                   Exhibit A, p. 27.	  
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         169.    After Fuller filed the Ethics Complaint, and for the next five months while the

  investigation was pending, Carollo temporarily ceased his harassment. There was a noticeable

  difference, becoming eerily quiet. It went from a constant barrage of harassment to nothing.

         170.    In fact, even the noise complaints against Ball & Chain ceased.

         171.    On or about August 6, 2018, Fuller requested permission to withdraw the Ethics

  Complaint, and it was withdrawn as of August 13, 2018.

         172.    Fuller withdrew the Ethics Complaint because it had been too narrowly drafted.

         173.    An abundance of information surfaced that had become the basis of filing the

  Complaint in this action [DE 1] and possible additional filings, including both ethics and

  possible criminal complaints.

         174.    Carollo interpreted the withdrawal of the Ethics Complaint as a sign of weakness

  and defeat and as a green light to resume and even ramp up his attacks on the Plaintiffs, which is

  jokingly now called in City circles as “Round 2.”

         175.    For example, after the withdrawal of the Ethics Complaint, noise complaints

  against Ball & Chain resumed, with the first one being filed directly by Carollo himself by text

  message on September 14, 2018, not by any neighbors of Ball & Chain. (As explained further

  below, on October 2, 2018, Carollo was again found walking around the Ball & Chain

  neighborhood trying to find neighbors willing to complain).


           CAROLLO TARGETS PLAINTIFFS’ CALLE OCHO MARKETPLACE

          176. Another target on Carollo’s hit list was Plaintiffs’ property located at 1380 SW

  8th Street, known as Calle Ocho Marketplace. Calle Ocho Marketplace consists of two (2)




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  contiguous parcels of land. The first has an existing Mexican restaurant on it and the second

  consists of an open-air lot where Plaintiffs intended to put a kiosk marketplace.

             177. To that end, Fuller and Pinilla had invested over $100,000 dollars to retro-fit

  containers into smaller kiosks to house the marketplace vendors.

             178. On August 20, 2018, a mere seven days after Plaintiffs had withdrawn the Ethics

  Complaint against Carollo, Plaintiffs received a letter from the City which included notice of a

  code violation of Section 3.63(g) of Miami 21 at Calle Ocho Marketplace (the “Notice”).

  Specifically, Section 3.63(g) of Miami 21 relates to “Off-Street Parking Facilities” and states as

  follows:

             Inoperable vehicles and other inoperable Recreational Watercraft or
             equipment shall be stored only in storage facilities or other approved
             places where they are completely concealed from public view.

             179. The Notice contended that the kiosks somehow constituted equipment and the

  marketplace somehow constituted a parking facility and that Plaintiffs therefore either had to

  fasten down the kiosks or remove them no later than August 22, 2018.

             180. Given that the kiosks were actual building structures and not equipment, and

  further given the fact that Plaintiffs had a lawful Farmer’s Market TUP and Building Permit to

  have the kiosks on the property, the Plaintiffs consulted with their attorney Dombrowski who

  reached out to Assistant City Attorney to resolve the issue.

             181. On August 31, 2018, while the parties were still discussing how to resolve the

  matter, the City filed an Emergency Motion for Injunctive Relief (“Motion”) asking the Court to

  either force Plaintiffs to remove the kiosks or grant the City the authority to remove and destroy

  every kiosk from the property.




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           182. On September 4, 2018, Plaintiffs received a letter from the City indicating that it

  was revoking the Farmer’s Market TUP on the property. Because the TUP formed the basis for

  the building permit that allowed for the kiosks to be on the property, the City also indicated it

  would revoke the building permit, which it did 7 days later on September 11, 2018.

           183. On September 6, 2018, Judge Miguel De La O denied the Motion.

           184. That same day, the City dragged Plaintiffs in front of the Code Enforcement

  Board.

           185. Once again, Carollo attended the meeting. During that meeting the City Attorney

  Victoria Mendez told the Code Enforcement Board that the Farmer’s Market TUP never should

  have been issued because the lot was less than 5,000 feet. This was a blatant lie as the plans

  submitted for the permit clearly indicated that there was over 8,300 square feet for the market.

           186. To add fuel to the fire, Carollo delivered a defamatory and false speech, lasting

  more than 10 minutes, attacking the Plaintiffs. Carollo argued that while the Plaintiffs had a

  Farmer’s Market permit, he knew they were not going to sell vegetables but rather would hock

  goods as they would in a fourth or fifth world market.

           187. The combination of the City Attorney’s lie regarding the square footage of the lot

  and the false and defamatory statements made by Carollo to the Board, resulted in the Board’s

  decision to give Plaintiffs less than 48 hours to remove the kiosks or else start to incur fines of

  $250 per day.

           188. Believing that they had been significantly wronged and intending to challenge the

  revocation of their permits, Plaintiffs did not remove the kiosks by the deadline. Accordingly,

  the City requested an emergency hearing at the next Code Enforcement Board Meeting on

  September 12, 2018.

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           189. Plaintiffs attended the hearing with their attorney who attempted to explain the

  errors behind the revocation of the TUP and the false statements made to the Board by Victoria

  Mendez. Rather than give the Plaintiffs a chance to argue their case, the Board, who had clearly

  been prejudiced by the prior statements made by Carollo and Mendez, granted the City

  permission to enter the property and remove the kiosks.


            CAROLLO’S RETALIATION AGAINST THE PLAINTIFFS’ USE OF THE 7TH
                            STREET PARKING LOT

           190. On the morning of Saturday, September 15, 2018, at approximately 12:30 am,

  three City of Miami Code Enforcement Officers and a police officer showed up at Ball & Chain

  to complain about alleged illegal parking on a lot owned by Plaintiffs that was adjacent to Ball &

  Chain.    According to Code Enforcement, they were there as a result of an “anonymous”

  complaint about illegal parking. The lot, which is zoned commercial and therefore may be used

  for parking, is utilized by the employees of Ball & Chain to park their cars while they are at

  work.

           191. Fuller was not there but both the valet manager and general manager dealt with

  the officers. The Code Enforcement officers issued Plaintiffs a citation for illegal parking and

  failure to have a Certificate of Use on the lot and then, at the direction of the police officer,

  forced all of the employees to stop working and immediately move their cars.

           192. The problem with that is Code Enforcement is only empowered to issue citations.

  Citations can then be contested. Code Enforcement is not empowered to take affirmative action

  to remove perceived code violations prior to a hearing.

           193.   This process took approximately an hour as 25 employees – management, waiters,

  bartenders, busboys, the disc jockey – all took turns leaving work and moving cars, resulting in a

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  significant disruption of work at Ball & Chain. The Code Enforcement officers and police

  remained on the premises essentially intimidating the staff until every car had been moved.

         194.    Later that morning, after having learned about the incident, Fuller called a Code

  Enforcement Officer (the “Officer”) to inquire as to why the citations were issued when the

  parking was legal.

         195.    The Officer informed Fuller that he was not aware that Code Enforcement had

  been sent to Ball & Chain but said he would investigate and get back to Fuller. Approximately a

  half hour later, the Officer called Fuller back and said there must have been a mistake because

  the lot was zoned commercial and could be used for parking and that he would see what he could

  do about it.

         196.    On Monday, September 17, 2018, Fuller made a public records request to try to

  ascertain the source of the complaint.

         197.    On Tuesday, September 18, 2018, just as he was walking into a previously

  scheduled meeting with the Officer, he received a response to the records request which included

  a screenshot of a text message sent by Carollo to the City Manager on September 15, 2018

  that said “Mr. manager 1530 sw 7 street still parking illegally and music blaring in

  violation of city code.”

         198.    Here is a picture of the actual text message:




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         199.   Neither the Code Enforcement officers nor the police officer mentioned any noise

  complaints while they were at Ball & Chain and no citation had been issued for excessive noise

  while they were there. Fuller, armed with the knowledge that it was Carollo who made the

  complaint directly, and who was with his attorney Dombrowski at the meeting, again discussed

  the events of Friday night with the Officer. The Officer told Fuller “no hard feelings but we

  received an anonymous complaint.” At that point, Fuller showed the Officer the screenshot of

  the text message from Carollo and said that there was nothing anonymous about it. Carollo had




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  contacted the City directly to send Code Enforcement to cite the bar. In response, Officer stated,

  “[h]oly shit!”

                                                        200.                                                   The Officer then advised Fuller that Ball & Chain also received a noise citation on

  Friday night.

                                                        201.                                                   When Fuller explained that they had not received any noise violation and that

  despite being on the property for almost two hours, the Code Enforcement officers never

  mentioned a noise violation or took any decibel readings, the Officer looked in the computer and

  confirmed that nothing had been issued.

                                                        202.                                                   Approximately an hour after the meeting at 3 pm on Tuesday, September 18th, a

  violation was posted outside Ball & Chain for excessive noise with a date of September 15,

  2018.

                                                        203.                                                   In his testimony before the Ethics Commission, Daniel Sierra explained that it

  was new code enforcement policy that whenever noise complaints were issued, the Code

  Enforcement officer had to return to the establishment cited every 45 minutes to verify whether

  they were in violation of the noise ordinance.30 Despite this official policy on noise violations,

  no one said a word to anyone at Ball & Chain on the night of the 15th about a noise violation and

  no one returned in 45-minute intervals to take decibel readings. Nonetheless, the notice of the

  noise violation from that night was posted on the outside of Ball & Chain on September 18th

  following Fuller’s meeting with the Officer, three days after the alleged violation occurred.

                                                        204.                                                   This was obviously Carollo manufacturing a false noise violation against

  Plaintiffs’ businesses, and with the City’s assistance in pursuing this false and belated noise

  violation.

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                     205.                               This false noise complaint is of great significance since, with three such (false)

  complaints, Carollo may attempt to force Ball & Chain to shut down permanently.


                                            CAROLLO IS DISCOVERED LURKING BEHIND BALL & CHAIN NEXT TO
                                              THE 7TH STREET PARKING LOT AT 9 PM SEARCHING FOR CODE
                                                                   VIOLATIONS

                                     206.                               On October 2, 2018 at 9 pm, one of the Ball & Chain managers was returning to

  his car in the 7th Street parking lot when he noticed three men standing next to the lot in front of

  some residences discussing Ball & Chain.

                                     207.                               One of the men was Carollo. The second was Saul Cimbler, a Cuban-American

  attorney who has been suspended by the Florida Bar and who runs a business assisting people to

  “legally do business in Cuba.”31 It is not clear why Carollo had Cimbler with him lurking behind

  Ball & Chain.

                                     208.                               The third was Frank Pichel, a current member of the Code Enforcement Board.

  It is highly suspicious why Carollo would be with a Code Enforcement Board Member in the

  dark in the back of Ball & Chain on a Tuesday night. Moreover, Mr. Pichel’s participation again

  signifies the City’s knowledge and support for Carollo’s unconstitutional retaliation against the

  Plaintiffs.

                                     209.                               After discussing the fact that the residences were over 100 feet away from the

  music playing at the bar, Carollo went over to the apartments and began knocking on doors to

  ask the residents about the music, to see if he could find any to file a noise complaint against Ball

  & Chain.




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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         210.    At that point, the General Manager arrived on scene and began filming Carollo.

  Realizing that he was on film, Carollo became very defensive, took out his phone and started

  filming the Ball & Chain employees. Here is a photo from that night.




                                                                                   	  
         	  
         211.    The General Manager subsequently spoke to the people living in the apartments

  where Carollo had been knocking on doors. The neighbors stated that they had no issues with

  the music coming from Ball & Chain and that most times they did not notice it. They confirmed

  that no complaints had been made that night and they did not know why the Commissioner was

  knocking on their doors at 9 pm on a Tuesday night.

         212.    While the video clearly shows Carollo at the location, the third man, Pichel, who

  sits on the Code Enforcement Board and, if he does not recuse himself, would be ruling on any

  noise complaints, refused to be on video and hid behind a tree.




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                  CAROLLO’S RETALIATION AGAINST VIERNES CULTURALES

          213.    Fuller is President of the neighborhood organization Viernes Culturales, a

  nonprofit organization which coordinates the popular Viernes Culturales/Cultural Fridays art,

  music and culture festival held on the last Friday of every month on Calle Ocho. Viernes

  Culturales is currently in its 18th year.

          214.    One of the main areas that the festival utilizes to house its vendors is Domino

  Plaza. On a typical Friday night, there would be a cultural gathering such as the following:




          215.    In August 2018, Carollo ordered that Domino Plaza be shut down and physically

  barricaded. No public reason was ever given.

          216.    However, when the security guard at Domino Plaza was asked why it was shut

  down, she said it was at the order of the Commissioner. Asked how she knew Carollo had closed

  it, she said he had come to the site on Thursday to make sure it was shut down.


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                                     217.                                Domino Plaza reopened on August 29, 2018, and on Friday, August 31, 2018, just

  two hours before Viernes Culturales was set to begin, he ordered it shut again. The excuse was

  “pothole repair,” but in reality there were only a few tiles that had been removed (probably at the

  order of Carollo).

                                     218.                                Since the Plaza was completed in the mid 2000s, Viernes Culturales has always

  used the Plaza for the event. It has never had to relocate for a festival. Carollo’s forced

  relocation resulted in many people believing that the festival was canceled.

                                     219.                                Carollo’s closing of Domino Plaza is a direct attempt to target and destroy

  Viernes Culturales simply because Fuller is the President.

                                     220.                                In fact, another City Commissioner has stated explicitly that Carollo is targeting

  the festival to “fuck with Fuller.”

                                     221.                                During his sworn statement, Miro explained that Carollo had hired his attorney to

  form a competing organization to Viernes Culturales that he hoped would replace it. Miro

  explained “[s]o he had his attorney, Ben Kuehne open up another corporation of the Que Pasa

  Little Havana I believe. You got to check Sunbiz for that, that’s what I believe it’s called. To

  take -- take over Viernes Culturales.”32 When Fuller asked Miro why Carollo would want to

  take over Viernes Culturales, Miro replied, “Just because it’s yours.”33


                                                              CAROLLO’S RETALIATORY DEFAMATION AGAINST PLAINTIFFS

                                     222.                                Carollo has also gone on popular radio shows and defamed Plaintiffs and their

  businesses and their tenants.



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  32
                   Exhibit B, p. 18, ll. 13-25 and p. 19, ll. 1-19.
  33
                   Id.
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         223.       This defamation is part and parcel of Carollo’s retaliation against Plaintiffs and is

  aimed specifically to harm their businesses.

         224.       On the Raul Martinez show, Carollo, referencing Plaintiffs specifically, said:

                    “There is a large group of people buying property in the historic part of Little
                    Havana to de-Cubanize and de-Latinize Little Havana”.
         	  
         225.       Carollo further alleged that Plaintiffs were connected to the corrupt socialist

  dictatorships in Cuba and Venezuela, claiming that Plaintiffs were:

                    “Being supported by a small group of Venezuelans that have companies in
                    Panama or the father of one of them is a Venezuelan ambassador to Cuba.”
         	  
         226.       Carollo then alleged that the corrupt Venezuelans were:

                    “leaving El Padrino [referring to Plaintiff Bill Fuller] to operate like a Godfather
                    buying places full of code violations, buildings and nothing happens.”
         	  
         227.       Carollo then claimed that Plaintiff Fuller:

                    “has purchased all of the major commercial properties of Calle Ocho and he says
                    that ‘we buy properties from investors funds’”
         	  
         228.       Carollo further suggested and implied that Plaintiff Fuller’s money for investment

  was coming from corrupt Venezuelans:

                    “This guy has been buying properties for 4 years, he had said that he didn’t have
                    any money and suddenly he has it. From where is this money coming?”
         	  
         229.       Carollo next falsely claimed that Fuller was sending City inspectors to pressure

  property owners to sell their property to Fuller:

                    “Then, I hear stories of merchants even 3rd generation merchants that operate
                    here, Cubans, other no Cubans that are Hispanics that have businesses, that
                    ‘they’ are sending those city inspectors, another way to pressure them to sell their
                    businesses to them, this is ugly.”
         	  	  
         230.       During the Radio Actualidad show, Carollo falsely claimed that Plaintiff Fuller

  (a) “Operates all of his businesses without permission,” (b) was “Robbing money from the City


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  of Miami by not paying valet fees,” and (c) that “Ball & Chain has caused prostitution on Calle

  8.”

         231.    Each of Carollo’s statements listed above was knowingly false, malicious,

  published widely to the community, and intended to harm Plaintiff Fuller and his businesses.

         232.    Further, Carollo uses his perceived immunity to defamation as a public official to

  intentionally defame Plaintiffs in order to harm their reputation and cause economic damages.


                             CAROLLO’S LEGISLATIVE RETALIATION

         233.    In addition to Carollo’s retaliation through the violation of the City Charter and

  manipulation of the City’s agencies, Carollo has engaged in systematic retaliation against the

  Plaintiffs through his calculated changes of City law, thereby causing the City to violate the

  United States Constitution’s ban on bills of attainder. In turn, the City has done nothing to deter

  or eliminate Carollo’s unconstitutional activity, and instead has entirely condoned it.

         234.    First, as described more fully above, in December 2017, Carollo managed to

  abolish Temporary Use Permits in District 3. This maneuver was specifically to target and

  punish Plaintiffs for their use of the same shipping containers in District 3 that were authorized

  by the City on the Miami River and in Wynwood.

         235.    Second, when the City’s Special Master granted Fuller an extension to resolve a

  code issue, Carollo rushed the podium and gave a 15 minute speech during which he made

  baseless allegations about unauthorized work being performed on the property, false accusations

  that the property looked like an industrial park with major safety hazards and further accusations

  of Plaintiffs “playing games” with the City. Despite his protests, the Special Master reconfirmed

  the extension of time. Enraged that he did not get his way with the Special Master, at the next



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  commission meeting, on June 14, 2018, Carollo introduced legislation to the Commission to

  abolish the Special Master.

         236.      Because the members of the Code Enforcement Board are appointed by the

  Commissioners, Carollo knew that he could increase his and their power if he abolished the

  Special Master, who is not appointed by the Commissioners.                Accordingly, during his

  presentation of the Ordinance to the Commission, Carollo made veiled references to the

  extension provided to Plaintiffs by the Special Master. Specifically, Carollo stated: “people are

  getting all kinds of extensions they should not be getting and we are undermining our own code

  enforcement board and our own residents.”

         237.      Carollo further brought the current chair of the Code Enforcement Board to speak

  at the Commission Meeting in favor of the ordinance. Despite representations from the Director

  of Code Enforcement, Bernat, that the Code Compliance Board was five (5) months behind in

  resolving citations, the Commission passed the Ordinance and all Special Masters in the City of

  Miami were abolished.


      CAROLLO’S ATTEMPT TO DESTROY VIERNES CULTURALES AFTER THE
                 FILING OF THE COMPLAINT IN THIS ACTION

         238.      Undeterred by the filing of the Complaint in this action, and a stay entered by this

  Court based on Carollo’s attorney’s representations that Carollo was busy with upcoming

  elections, Carollo and the City’s retaliatory action towards Fuller, Pinilla and Viernes Culturales

  has continued.

         239.      During the 18-year history of the Viernes Culturales festival, and right up until

  October 2018, Viernes Culturales had never applied for or obtained a special events permit in

  relation to Domino Plaza, where a key part of the festival occurs. And despite its heavy

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  involvement in the festival, prior to October 2018, the City has never requested or required

  Viernes Culturales in its 18 years of existence to pull any type of events permit.

         240.    The first time Viernes Culturales applied for a special events permit for use of

  Domino Plaza was for the October 2018 event. The reason Viernes Culturales did so in that

  month was because Mr. Fuller learned that Carollo was planning to apply for a permit for

  himself for that same day, in order to block the Viernes Culturales festival.

         241.    Accordingly, Pati Vargas, the Director of Viernes Culturales, applied for and was

  granted a special events permit for the event on the last Friday of October, 2018.

         242.    Ms. Vargas had been asked to secure permits for the remaining fourth Fridays of

  each month as well. When she submitted the application for the last Friday of November,

  however, she was informed by the City that Commissioner Carollo had in fact beaten her to the

  punch and filed his application for use of the Plaza (the same location) for the fourth Friday of

  each month (the same time period), for the next year.

         243.    Specifically, the City stated: “Please be advise [sic] that at this time you [sic]

  application for Viernes Culturales for Domino Plaza can’t be process [sic] since the park has

  been reserve [sic] for those days.”

         244.    Plaintiffs obtained a copy of the application Carollo submitted, which he did on

  November 8, 2018. The application was submitted in Commissioner Carollo’s own name, and

  the City Attorney, despite being fully aware of Carollo’s retaliatory conduct, has rebuffed

  complaints from Viernes Culturales, stating that Commissioners have the right to reserve public

  spaces whenever they want.

         245.    Accordingly, not only did the City condone Carollo’s unconstitutional retaliation

  against Plaintiffs and Viernes Culturales, but assisted Carollo in doing so by, for the first time in

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  18 years, requiring that Viernes Culturales obtain a permit for Domino Plaza and assisting

  Carollo in reserving that location/time period that had been consistently used by Viernes

  Culturales.

                                                        246.                                                   Commissioner Carollo has not even tried to pretend that his intention is anything

  other than destroying Viernes Culturales. In an interview Carollo gave to the Miami Herald for a

  story entitled “Joe Carollo wants to force out Viernes Culturales and host his own monthly

  festival,” Carollo claimed that Viernes Culturales’ festival has become a “tired, lackluster event”

  that is little more than a “flea market,” and he “thinks he can do better with food, merchants and

  music,” and that this would not be a one time affair but rather, “[w]e’re going to do that every

  month, to bring Little Havana back alive again.”34

                                                        247.                                                   Additionally, after Plaintiffs filed a Motion for Temporary Restraining Order in

  this lawsuit against Carollo, to restrain Carollo from holding his event on the last Friday of each

  month, Carollo, through the City, began sending out false advertisements about the event to gain

  further support.

                                                        248.                                                   Specifically, Carollo sent out the following advertisement:




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
    https://www.miamiherald.com/news/local/community/miami-­‐dade/little-­‐
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  havana/article221762265.html	  	  
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            249.   The text of the advertisement claims that for Carollo’s event there would be “a

  performance by our very own ‘Mr. 305’ Pitbull.”

            250.   When contacted by the Miami Herald, Pitbull flatly denied that he would be

  performing at Carollo’s event.

            251.   Upon information and belief, Carollo, with the assistance of the City and its

  Twitter Feed, knowingly published the above false advertisement as part of Carollo’s effort to

  destroy Viernes Culturales and retaliate against Plaintiffs by attempting to gather public support

  for the event, despite all of the negative press coverage.

            252.   Since the Miami Herald story ran noting that Pitbull would not in fact be

  appearing, the City removed the false advertisement from its Twitter Feed.

            253.   Additionally, while Carollo has told the Miami Herald that Viernes Culturales had

  become a “glorified flea market,” Carollo’s staff has nevertheless contacted the very same

  vendors that put on the Viernes Culturales festival to secure their participation in Carollo’s

  proposed festival.

            254.   While Plaintiffs have provided in detail many of the unconstitutional actions of

  Carollo, the City and Lugo above, there are additional instances of retaliation and harassment

  that are not specifically alleged herein.


                                         COUNT I
             VIOLATION OF THE CONSTITUTIONAL RIGHT TO FREE SPEECH
                              AND FREEDOM OF ASSOCIATION
                        (First Amendment Retaliation—Against Carollo)

            255.   Plaintiffs reallege paragraphs 1 through 254 above as though fully set forth

  herein.

            256.   The First Amendment to the United States Constitution provides:

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         Congress shall make no law respecting an establishment of religion, or prohibiting
         the free exercise thereof; or abridging the freedom of speech, or of the press; or
         the right of the people peaceably to assemble, and to petition the Government for
         a redress of grievances.

         257.    The First Amendment rights to freedom of speech and association protects not

  only the affirmative rights to free speech and association but also the right to be free from

  retaliation perpetrated by the government upon the exercise of that right.

         258.    Section 1983 provides a private cause of action with respect to the violation of

  federal constitutional rights. The Act provides, in pertinent part, as follows:

         Every person who, under color of any statute, ordinance, regulation, custom, or
         usage, of any State or Territory or the District of Columbia, subjects, or causes to
         be subjected, any citizen of the United States or other person within the
         jurisdiction thereof to the deprivation of any rights, privileges, or immunities
         secured by the Constitution and laws, shall be liable to the party injured in an
         action at law, suit in equity, or other proper proceeding for redress ***.

  42 U.S.C. § 1983 (2012).

         259.    The aim of Section 1983 is to deter state actors from using the badge of their

  authority to deprive individuals of their federally guaranteed rights and to provide relief to

  victims if such deterrence fails.

         260.    The United States Constitution’s First Amendment guarantee to free speech and

  free association applies to local and state governments through decisions of the United States

  Supreme Court, as well as through the Fourteenth Amendment.

         261.    Plaintiffs exercised their right to free speech and free association by supporting

  Mr. Leon in the run-off election and hosting a rally for Mr. Leon on Plaintiffs’ property.

         262.    Carollo discovered the rally for Mr. Leon being held on Plaintiffs’ property on

  November 18 and November 19, 2017, and discovered Plaintiff Pinilla at the rally itself.




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         263.    Upon winning office, Carollo immediately retaliated against Plaintiffs by

  instituting a campaign of harassment beginning that very same day.

         264.    Carollo’s discovery of the Leon rally at Plaintiffs’ property on November 18, and

  Carollo’s retaliatory campaign of harassment beginning that same day, and continuing each day

  thereafter, establishes causation between the exercise of free speech and the retaliation.

         265.    In addition, causation is also established by the testimony of Mr. Miro, Carollo’s

  own top advisor.     When asked why Carollo was targeting the Plaintiffs, Miro answered:

  “obviously, [Fuller] went against him in the commissioners by donations to -- giving him

  building and what have you.”

         266.    Causation is also established by the testimony and statements of the many other

  City employees.

         267.    In addition, Carollo’s retaliatory actions temporarily ceased upon Plaintiff Fuller’s

  filing of the Ethics Complaint against Carollo in late March 2018. However, within days of

  Fuller’s withdrawal of the Ethics Complaint, Carollo resumed his campaign of harassment, this

  time in retaliation for both the exercise of their First Amendment rights in supporting of Leon

  and for the exercise of their First Amendment rights in filing the Ethics Complaint.

         268.    Carollo was at all times acting under the color of state law (including when he

  was criminally violating the City Charter).

         269.    Carollo’s actions would ‘chill a person of ordinary firmness’ from continuing to

  engage in the protected activity.

         270.    As a result of Carollo’s retaliation, Plaintiffs are reluctant to participate in the

  political process by supporting candidates for office.




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          271.    In addition, as a result of Carollo’s retaliation, Plaintiffs have suffered out of

  pocket losses and other monetary harms associated with disruption to their various businesses in

  an amount to be proven at trial.

          272.    Carollo was not acting within the scope of his discretionary authority as a Miami

  City Commissioner.       In fact, by directing City employees to target Plaintiffs, Carollo was

  violating the Miami City Charter.

          273.    In addition to the monetary losses, Plaintiffs have suffered impairment to their

  reputation, personal humiliation, emotional distress and mental anguish and suffering.

          274.    Plaintiffs also are entitled to punitive damages to punish Carollo’s reprehensible

  conduct and to deter its future occurrence. Carollo’s conduct was reprehensible in that it was

  repeatedly violating the Miami City Charter’s rules designed to prohibit this type of behavior,

  designed to preclude commissioners from threatening City employees to get them to carry out

  the commissioners’ personal vendettas. It was reckless in its disregard for Plaintiffs’ free speech

  rights. And it was, and is, motivated by an evil intent – to drive Plaintiffs out of business and

  deprive the residents of Little Havana of all the positives the Plaintiffs have brought to the

  neighborhood.

          275.    Plaintiffs also are entitled to and hereby demand an award of attorneys’ fees

  pursuant to the Civil Rights Attorney’s Fee Awards Act of 1976 (42 U.S.C.A. § 1988[b]).

          276.    Finally, Plaintiffs also seek a permanent injunction against further retaliation

  against them and further violations of the Miami City Charter as (a) there is no adequate remedy

  at law, (b) Plaintiffs will suffer irreparable injury if the injunction is not granted, (c) the injury to

  Plaintiffs, including the deprivation of their constitutional rights, outweighs any harm that could




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  be caused to Carollo from having to follow the law, and (d) the injunction would benefit, and not

  be adverse, to the public interest.

          277.    Carollo should be permanently enjoined from participating in any decision of the

  Board of Commissioners in relation to any matters that directly affect the Plaintiffs, Plaintiffs’

  properties, employees, tenants, or any affiliates of Plaintiffs, including but not limited to noise

  violations, permits, zoning, or licenses for Plaintiffs, Plaintiffs’ properties, employees, tenants, or

  any affiliates of Plaintiffs.

          278.    Carollo should be permanently enjoined from directly soliciting any complaints

  and/or demands regarding Plaintiffs, Plaintiffs’ properties, employees, tenants, or any affiliates

  of Plaintiffs, including but not limited to, directly contacting, or going door-to-door to the

  surrounding neighbors of Plaintiffs, Plaintiffs’ properties, employees, tenants, or any affiliates of

  Plaintiffs to seek complaints for noise or other violations.

          279.    Carollo should be permanently enjoined from having any contact with Plaintiffs,

  Plaintiffs’ properties, employees, tenants, or any affiliates of Plaintiffs.

          280.    Carollo also should be immediately and permanently enjoined from making any

  requests to, or providing any instructions or suggestions to, any City employees concerning

  Plaintiffs, Plaintiffs’ properties, employees, tenants, or any affiliates of Plaintiffs.

          281.    Carollo should be immediately and permanently enjoined from entering any of

  Plaintiffs’ properties.

          WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in the

  Plaintiffs’ favor against Carollo and award damages for business disruption, emotional distress,

  reputational harm, punitive damages, attorneys’ fees, enter a permanent injunction against




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  Carollo enjoining him from further retaliation against Plaintiffs, and grant such other relief as

  this Court deems just and proper.


                                          COUNT II
             VIOLATION OF THE CONSTITUTIONAL RIGHT TO FREE SPEECH
                              AND FREEDOM OF ASSOCIATION
                     (First Amendment Retaliation—against the City of Miami)

            282.   Plaintiffs reallege paragraphs 1 through 281 above as though fully set forth

  herein.

            283.   With full knowledge of Carollo’s unconstitutional retaliation against Plaintiffs,

  the City encouraged, condoned, and/or was deliberately indifferent to Carollo’s unconstitutional

  activity against Plaintiffs by failing to take action to deter or eliminate that activity and/or

  directly participating in that retaliation.

            284.   For example, since Carollo became City Commissioner, the City has been

  repeatedly placed on notice of Carollo’s campaign to harass and retaliate against Plaintiffs. That

  is because Carollo has utilized City employees from all levels, including Code Enforcement

  officers, police officers, and even sought assistance and guidance from the City Attorney and

  high ranking City officials in regards to retaliating against the Plaintiffs.

            285.   In fact, using a spreadsheet created by Carollo and his staff that identified all of

  Plaintiffs’ properties, Carollo coordinated a walk with the Mayor, City Manager, Deputy City

  Manager and Code Enforcement Director for the sole purpose of pointing out alleged violations

  on Plaintiffs’ properties, again in an effort to ensure that the City targeted and harassed Plaintiffs.

            286.   The City’s culture of permitting and condoning of, and/or deliberate indifference

  to Carollo’s unconstitutional retaliation against Plaintiffs is well documented.




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         287.    For example, the City failed to correct Carollo’s numerous violations of the City

  Charter, which constitute criminal violations, in which he directly ordered City employees such

  as Code Enforcement officers and police offers, among others, to specifically harass Plaintiffs’

  properties and affiliated businesses including Ball & Chain, Union Beer, and Sanguich, including

  “raiding” these businesses.

         288.    The City also failed to deter or eliminate Carollo’s successful retaliation against

  Plaintiffs and their affiliated business Sanguich, where he orchestrated the abolishment of TUPs

  in District 3 to target and punish Plaintiffs for their use of the exact same type of shipping

  containers that were authorized by the City in the nearby locations of the Miami River and

  Wynwood, and also forced Sanguich out of District 3.

         289.    Further, based on Carollo’s harassment and targeting of Plaintiffs’ business, the

  City sent code violations to Calle Ocho Marketplace, one of Plaintiffs’ properties, and ultimately

  held Code Enforcement Board hearings, where the Board provided Plaintiffs less than 48 hours

  to remove the kiosks or else start to incur fines of $250 per day. That decision was supported by

  the City Attorneys’ blatant lies regarding the size of the lot and the legitimacy of the permit

  previously awarded to Calle Ocho Marketplace.

         290.    Additionally, the City made no efforts to deter Carollo from succeeding in

  abolishing all Special Masters in the City of Miami, which Carollo openly pushed to gain

  additional power as well as to prevent the Special Masters from providing extensions of time for

  Plaintiffs to resolve code violations, extensions which were granted to Plaintiffs in the past and

  which frustrated Carollo’s retaliation against Plaintiffs.

         291.    Then, recently in October 2018, the City also condoned, and in fact aided

  Carollo’s harassment and retaliation against Plaintiffs by requiring Plaintiffs’ organization,

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  Viernes Culturales, to obtain a permit for Domino Plaza, the location that Viernes Culturales

  sought to hold its festival on the last Friday of every month. Prior to October 2018, Viernes

  Culturales had never, in its 18 of years existence, been required by the City to obtain such a

  permit for Domino Plaza.

         292.    However, not only did the City impose this requirement based on Carollo’s

  campaign of harassment and retaliation against Plaintiffs, but the City also awarded permits for

  Carollo to run a competing organization, in the same location (Domino Plaza) and on the same

  day (the last Friday of the month), for the next year. The City thereby directly aided Carollo’s

  effort to retaliate against Plaintiffs by attempting to destroy Viernes Culturales.

         293.    Moreover, throughout Carollo’s retaliatory actions, City agents and employees,

  including police officers, Code Enforcement officers, the fire department, the City attorney, and

  others all repeatedly participated and assisted Carollo in effectuating Carollo’s unconstitutional

  retaliation against Plaintiffs, often times in violation of the City Charter.

         294.    By failing to deter or eliminate the numerous forms of Carollo’s retaliation

  against the Plaintiffs, and even condoning and/or participating in Carollo’s retaliation, all of

  which were committed with the City’s knowledge, the City had a custom and practice of

  constitutional deprivations perpetrated by City agents and employees against Plaintiffs and

  similarly created a culture of permitting this type of unconstitutional activity, thereby violating

  the law.

         295.    At all times, the City, and its officers, employees and agents were acting under the

  color of state law.

         296.    As a result of the City’s repeated failures to deter Carollo’s unconstitutional

  activity against Plaintiffs, and the City’s custom, practice and culture of permitting and

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  condoning, if not outright supporting this unconstitutional activity, Plaintiffs have been deprived

  of their First Amendment rights to freedom of speech, to peaceably assemble, and to petition the

  Government for redress of grievances.

          297.    The City’s actions, custom and practice, would ‘chill a person of ordinary

  firmness’ from continuing to engage in the protected activity.

          298.    As a result of the City’s actions, custom and practice, Plaintiffs are reluctant to

  participate in the political process by supporting candidates for office.

          299.    In addition, as a result of the City’s action, custom and practice, Plaintiffs have

  suffered out of pocket losses and other monetary harms associated with disruption to their

  various businesses in an amount to be proven at trial.

          300.    Along with the monetary losses, Plaintiffs have suffered impairment to their

  reputation, personal humiliation, emotional distress and mental anguish and suffering.

          301.    Plaintiffs also are entitled to and hereby demand an award of attorneys’ fees

  pursuant to the Civil Rights Attorney’s Fee Awards Act of 1976 (42 U.S.C.A. § 1988[b]).

          302.    Finally, Plaintiffs also seek a permanent injunction against further retaliation

  against them and further violations of the Miami City Charter as (a) there is no adequate remedy

  at law, (b) Plaintiffs will suffer irreparable injury if the injunction is not granted, (c) the injury to

  Plaintiffs, including the deprivation of their constitutional rights, outweighs any harm that could

  be caused to the City from having to follow the law and deter Carollo’s retaliation against

  Plaintiffs, and (d) the injunction would benefit, and not be adverse, to the public interest.

          303.    The City, its employees, officers, agents and all others acting in concert with it

  should be permanently enjoined from taking further retaliatory action against Plaintiffs.




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            WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in the

  Plaintiffs’ favor against the City, award damages for business disruption, emotional distress,

  reputational harm, attorneys’ fees, enter a permanent injunction against the City, its employees,

  officers, agents and all others acting in concert with it from taking further retaliatory action

  against Plaintiffs, and grant such other relief as this Court deems just and proper.


                                     COUNT III
    CONSPIRACY TO VIOLATE THE CONSTITUTIONAL RIGHT TO FREE SPEECH
                       AND FREEDOM OF ASSOCIATION
                (First Amendment Retaliation—Against Carollo and Lugo)

            304.   Plaintiffs reallege paragraphs 1 through 303 above as though fully set forth

  herein.

            305.   Defendants Lugo and Carollo reached an agreement to deny the Plaintiffs their

  constitutional right to free speech and freedom of association, in retaliation for supporting

  Carollo’s main political contender, Alfie Leon, during the 2017 elections. Defendant Lugo

  conspired, and willfully participated in Carollo’s retaliatory agenda against the Plaintiffs, acting

  under the color of law, both as a public official and as a private person acting jointly with

  Defendant Carollo.

            306.   On November 18 and 19, 2017, Lugo and Carollo conspired to have the rallies in

  support of Alfie Leon shut down by Code Enforcement or other City agents. Lugo, acting under

  the color of law, and abusing her powers as an employee at the City of Miami Code Enforcement

  division, agreed to and assisted Carollo in shutting down both rallies, actually denying Plaintiffs’

  First Amendment right to free speech and freedom of association.

            307.   On December 15, 2017, only a few days after assisting Carollo in successfully

  shutting down the rallies in support of Alfie Leon, Lugo, as a private person acting jointly with

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  Carollo, under the color of law, mobilized Code Enforcement officials to disrupt the Plaintiffs’

  Christmas Party and shut it down. Lugo, at Carollo’s direction, repeatedly called and texted

  Diez, the Director of Code Enforcement, insisting that he shut the event down and stating in

  support that the Christmas Party lacked a Special Events Permit.

           308.   Defendants Carollo and Lugo also conspired to retaliate against S.H. Valet, the

  valet operator for Ball & Chain. On February 18, 2018, at approximately 12:30 A.M., Carollo

  and Lugo—along with Miro and Miro’s wife—entered a parking lot located at 1411 SW 11 St.,

  Miami FL 33135. Lugo, as a private person acting jointly with Carollo, under the color of law,

  photographed parked cars, assisting Carollo in what he falsely represented to S.H. Valet’s

  employees to be part of an “official investigation.”

           309.   Moreover, Lugo, as a private person, also conspired with Carollo to fabricate

  noise complaints related to Ball & Chain. On March 14, 2018, Carollo and Lugo arranged for a

  “park and walk” with numerous City employees, around Ball & Chain. Prior to the “park and

  walk” Lugo and Carollo reached out to Ball & Chain neighbors, visited residents in a building

  located to the rear of Ball & Chain on 7th Street, close to 15th Avenue, and provided these and

  other residents with Carollo’s cell phone number, instructing them to call Carollo directly in the

  event they had complaints of any kind. Lugo and Carollo also prepped one of these residents to

  complain to Code Enforcement Director, Mr. Bernat, of loud music after 9:00 pm at Ball &

  Chain.

           310.   Defendants Lugo and Carollo’s conspiratorial acts impinged upon the Plaintiffs’

  First Amendment rights to free speech and freedom of association.




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         311.     As a result of Lugo and Carollo’s conspiracy to retaliate and violate their First

  Amendment rights to free speech and freedom of association, Plaintiffs are reluctant to

  participate in the political process by supporting candidates for office.

         312.     In addition, as a result of Lugo and Carollo’s conspiratorial acts in retaliation for

  the exercise of their First Amendment right to free speech and freedom of association, Plaintiffs

  have suffered out of pocket losses and other monetary harms associated with disruption to their

  various businesses in an amount to be proven at trial.

         313.     In addition to the monetary losses, Plaintiffs have suffered impairment to their

  reputation, personal humiliation, emotional distress and mental anguish and suffering.

         314.     Plaintiffs also are entitled to punitive damages to punish Lugo and Carollo’s

  conspiratorial and reprehensible conduct and to deter its future occurrence. Lugo and Carollo’s

  conspiracy to retaliate against the Plaintiffs was reprehensible in that it was repeatedly violating

  the Miami City Charter’s rules designed to prohibit this type of behavior, designed to preclude

  commissioners and public officials from threatening City employees to get them to carry out

  personal vendettas. Carollo and Lugo were reckless in their disregard for Plaintiffs’ free speech

  rights. And they were, and are, motivated by an evil intent – to drive Plaintiffs out of business

  and deprive the residents of Little Havana of all the positives the Plaintiffs have brought to the

  neighborhood.

         315.     Plaintiffs also are entitled to and hereby demand an award of attorneys’ fees

  pursuant to the Civil Rights Attorney’s Fee Awards Act of 1976 (42 U.S.C.A. § 1988[b]).

         WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in the

  Plaintiffs’ favor against Defendants Lugo and Carollo, jointly and severally, and award damages




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  for business disruption, emotional distress, reputational harm, punitive damages, attorneys’ fees,

  and grant such other relief as this Court deems just and proper.


                                       DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial of all claims so triable.




  	     	      	     	      	        	     	            	     Respectfully	  submitted,	  

                                                                      AXS LAW GROUP PLLC
                                                                      2121 NW 2nd Avenue
                                                                      Miami, FL 33127
                                                                      Tel: (305) 297-1878

                                                                      By:     /s/ Jeffrey W. Gutchess
                                                                      JEFFREY W. GUTCHESS
                                                                      Florida Bar No. 702641
                                                                      BRANDON P. ROSE
                                                                      Florida Bar No. 99984
                                                                      Jeff@axslawgroup.com
                                                                      Brandon@axslawgroup.com

                                                                       Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

  CM/ECF on counsel of record in this action on this 8th day of January, 2019:


  Benedict P. Kuehne, Esq.
  Kuehne Davis Law, PA.A.
  Miami Tower, Suite 3550
  100 SE 2nd Street
  Miami, FL 33131-2154
  Tel: 305-789-5987
  Fax: 305-789-5987
  Email: ben.kuehne@kuehnelaw.com
  Counsel for Defendant Carollo

  Thomas E. Scott, Esq.
  Cole, Scott & Kissane P.A.
  Cole, Scott & Kissane Building, Suite 1400
  9150 South Dadeland Blvd.
  Miami, FL 33156
  P: 305-350-5381
  F: 305-373-2294
  Thomas.scott@csklegal.com
  Counsel for Defendant Carollo

  Robert Zarco, Esq.
  Alejandro Brito, Esq.
  Zarco Einhorn Salkowski & Brito, P.A.
  One South Biscayne Tower
  2 South Biscayne Boulevard, 34th Floor
  Miami, FL 33131
  rzarco@zarcolaw.com
  abrito@zarcolaw.com
  apiriou@zarcolaw.com
  Counsel for Viernes Culturales/Cultural Fridays, Inc.


                                                         /s/ Jeffrey W. Gutchess, Esq.
  	  




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